Case 2:05-CV-02413-.]DB-STA Document 30 Filed 08/24/05 Page 1 of 5 Page|D 28

 

IN THE UNITED sTATEs DISTRICT CoURT F"'ED B"" 7

   

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WESTERN DlvlsloN 1355 hub 2'* PH 3' 15
vICKIE MILLER, " ~§,.»},@;»` TR!`“T~,COUHT
Plaintiff,
v. NO.: 05-2413-B-An

NIPPON CARBON COMPANY, LTD.,
et al.,

Defendants.

YANG MINE MARINE TRANSPORT
C()RPORATION,

Third-Party Plaintiff,
v.

INTERMODAL CARTAGE CO.,

‘_/\I\_/`-/\JWV\_VV\JVVV\J\_"_/\/\_“VW\_/

Third-Party Defendant.

 

RULE 16(b) SCHEDULING ORDER

 

l)ursuant to the scheduling conference set by Written notice, the following dates Were

established as the final dates for:

INITIAL DISCLOSURES (RULE 26(a)(1)): August 31, 2005

JOINING PARTIES:

for Plaintiff: October 17, 2005
l"or Defendant: November 17, 2005

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with Rule 58 ancilor

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AMENDING PLEADINGS:
for Plaintiff: ()ctobcr 17, 2005
l"or Defendant: November 17, 2005

COMPLETING ALL DISC()VERY: September 8, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and
REQUESTS FOR ADMISSIONS: April 17, 2006

(b) NON-EXPERT DEPOSITIONS: April 17, 2006

(c) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintiff’s Experts: May 19, 2006
(ii) Defendant’s Experts: June 16, 2006
(iii) Supplementation under Rule 26(e): June 30, 2006

(d) EXPERT WITNESS DEPOSITIONS: Septcmber 8, 2006

FlLING nrsPoslTIvE MoTIoNs; october 20, 2006
FlNAL LIsTs oF WITNESSES AND EXHIBITS (Rule 26(3)(3))=

(a) for Plaintiff: 45 Days Bcfore Trial
(b) for Defendant: 30 Days Before Trial

Parties shall have 10 days after service of final lists of Witnesses and exhibits to file
objections under Rule 26(a)(3).

r`l`he trial of this matter is expected to last days, The presiding judge Will set this
matter for JURY TRIAL. ln the event the parties are unable to agree on a joint pretrial order,
the parties must notify the court at least ten days before trial.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Adrnissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery F or example, if the FRCP allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery

Motions to compel discovery are to be filed and served by the discovery deadline or
Within 30 days of the default or service of the response, answer, or objection vvhich is the subject
of the motion if the default occurs Within 30 days of the discovery deadline, unless the time for

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filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be waived.

'l`he parties are reminded that pursuant to Local Rule Y(a)(l )(A) and (a)(l )(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

At this time, the parties have not given consideration to whether they wish to consent to
trial before the magistrate judge. The parties will tile a written consent form with the court
should they decide to proceed before the magistrate judge.

The parties are ordered to engage in court-annexed attorney mediation or private
mediation on or before the close of discoverv.

'l`his order has been entered after consultation With trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extendedl

lT IS SO ()RDERED.

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s_ rHoi\/rAs ANDERsoN
UNrrEt) srArEs MAGISTRATE JUDGE

Date: 2¢ PL)(L| /
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August 25, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CV-02413 was distributed by faX, mail, or direct printing on

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Honorable J. Breen
US DISTRICT COURT

